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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )           4:10CR3101
                                               )
                      Plaintiff,               )
                                               )
       vs.                                     )
                                               )           ORDER
JESSICA MICHELE ROBERTS,                       )
                                               )
                      Defendant.               )

       IT IS ORDERED that:


       (1)     The government’s request for hearing (filing 134) is granted.


       (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filings 129 and 136) has been set before the undersigned United States district
judge on Tuesday, February 19, 2013, at 12:00 noon, in Courtroom No. 2, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.


       (3)     The United States Marshal is directed to return the defendant to the district for
the hearing.


       Dated January 7, 2013.


                                            BY THE COURT:

                                            Richard G. Kopf
                                            Senior United States District Judge
